 Information to identify the case:
 Debtor
                Agspring, LLC                                                              EIN:   46−0857735
                Name

 United States Bankruptcy Court     District of Delaware                                    Date case filed for chapter:       11      5/31/23

            23−10699−CTG
 Case number:

Official Form 309F1 (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).
The staff of the bankruptcy clerk's office cannot give legal advice.
Do not file this notice with any proof of claim or other filing in the case.
Valid Picture ID is required for access to the J. Caleb Boggs Federal Building.

  1. Debtor's full name                       Agspring, LLC


  2. All other names used in the
     last 8 years

  Jointly Administered Cases                                                                                 Case No.               Tax ID.
  Agspring Idaho 1, LLC                                                                                       23−10700               83−2851720
  Agspring Idaho 2, LLC                                                                                       23−10702               83−2859262
  Agsrping Idaho, LLC                                                                                         23−10703               36−4778754
  FO−ND, LLC                                                                                                  23−10704               61−1731520
  Agspring Logistics, LLC                                                                                     23−10705               38−3956067

  3. Address                                  5101 College Boulevard
                                              Leawood, KS 66211

                                              Laura Davis Jones                                          Contact phone 302 652−4100
  4. Debtor's attorney                        Pachulski Stang Ziehl & Jones LLP
      Name and address                        919 N. Market Street, 17th Floor                           Email: ljones@pszjlaw.com
                                              Wilmington, DE 19801

  5. Bankruptcy clerk's office                                                                            Hours open: Monday − Friday 8:00 AM
      Documents in this case may be filed                                                                 − 4:00 PM
      at this address.                        824 Market Street, 3rd Floor
      You may inspect all records filed in
      this case at this office or online at   Wilmington, DE 19801                                        Contact phone 302−252−2900
      https://pacer.uscourts.gov.
                                                                                                          Date: 6/12/23

  6. Meeting of creditors                                                                                Location:
      The debtor's representative must    July 7, 2023 at 02:00 PM
      attend the meeting to be questioned
      under oath.                         The meeting may be continued or adjourned to a later           844 King Street, Room 3209,
      Creditors may attend, but are not   date. If so, the date will be on the court docket.             Wilmington, DE 19801
      required to do so.

                                                                                                           For more information, see page 2 >


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Debtor Agspring, LLC                                                                                                      Case number 23−10699−CTG

  7. Proof of claim deadline                  Deadline for filing proof of claim: Not yet set. If a deadline is set, the court will send you
                                              another notice.

                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form, Official Form
                                              B410, may be filed either electronically or as a paper document. For more information on how to file a Proof
                                              of Claim, visit the Delaware Bankruptcy Court's website at http://www.deb.uscourts.gov/claims−information.

                                              Your claim will be allowed in the amount scheduled unless:

                                                      • your claim is designated as disputed, contingent, or unliquidated;
                                                      • you file a proof of claim in a different amount; or
                                                      • you receive another notice.
                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                              must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                              You may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                              proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                              explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                              rights, including the right to a jury trial.


  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                 proceeding by filing a complaint by the deadline stated below).
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline.   Deadline for filing the complaint: 9/5/23


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                              trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                              business.


                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                              debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                      debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                              discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                              paying the filing fee in the bankruptcy clerk's office by the deadline.




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